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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

                                              :
STEVEN BROWN, et al.,                         :
                                              :
        Plaintiffs,                           : Case No.:
                                              : 1:22-cv-00080-TSK
v.                                            :
                                              :
THE BUREAU OF ALCOHOL, TOBACCO,               :
FIREARMS AND EXPLOSIVES, et al.,              :
                                              :
        Defendants.                           :
                                              :

     MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’ MOTION
       TO DISMISS AND IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                       SUMMARY JUDGMENT




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                                  INTRODUCTION

      The Second Amendment “right to possess and carry weapons in case of

confrontation” presumptively “belongs to all Americans,” not “an unspecified

subset.” District of Columbia v. Heller, 554 U.S. 570, 580, 581, 592 (2008). The

Individual Plaintiffs in this case are adults between the ages of 18 and 21. They

may vote, enter contracts, and marry. They are eligible to serve in the military. And

yet, under 18 U.S.C. §§ 922(b)(1) & (c)(1) and its implementing regulations

(collectively “the Handgun Ban”), they are entirely excluded from the commercial

market for handguns. This is so even though (a) at the time the Second Amendment

was adopted, 18-year-old men were universally understood to be members of the

militia not just allowed but generally required to possess firearms, and (b) the

handguns 18-to-20-year-olds are prohibited from purchasing are “the most preferred

firearm in the nation to ‘keep’ and use for protection of one’s home and family.”

McDonald v. City of Chicago, 561 U.S. 742, 767 (2010) (quoting Heller, 554 U.S. at

628–29). Although the Government claims it has the power to prohibit the sale of

firearms to people under the age of 21, such a practice is not longstanding nor

rooted in this nation’s history and tradition. Plaintiffs have a constitutional right to

purchase handguns, and that “necessarily takes [this] policy choice[] off the table.”

Heller, 554 U.S. at 636.

      Following New York State Rifle & Pistol Assn’n, Inc. v. Bruen, 142 S. Ct.

2111, 2131, 2133 (2022) if a law restricts conduct falling within the scope of the

Second Amendment’s text, as the Handgun Ban does, that law is presumed invalid

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and can only be saved if the Defendants demonstrate the existence of “a distinctly

similar historical regulation” that burdened the right to bear arms in the same way

and for the same reasons. That task is an impossible one. At the time the Second

Amendment was ratified, not only were there no laws in any state that purported to

limit the rights of 18-to-20-year-olds to purchase handguns for self-defense, there

were several laws enacted, including the Militia Act of 1792, that required 18-year-

olds to buy and maintain firearms. Even at the time that the Fourteenth

Amendment was ratified only two states had a ban like the Handgun Ban and it

would be another five years before another state adopted such a law. Defendants

will not be able to point to any historical tradition that could justify the federal

government’s attempt to deviate from the plain text of the Second Amendment,

therefore this Court must declare the Handgun Ban unconstitutional.


                                    BACKGROUND

  I.   Regulatory Background

       Plaintiffs challenge the constitutionality of statutes that were enacted as part

of the Omnibus Crime Control and Safe Streets Act of 1968 (“Act”), Pub. L. No.

90-351, 82 Stat. 197, along with regulations promulgated to enforce those statutory

provisions, that together bar 18-to- 20-year-olds from purchasing handguns from

federal firearms licensees (“FFLs”). In particular, the Act makes it unlawful for an

FFL:

       to sell or deliver . . . any firearm or ammunition . . . if the firearm, or
       ammunition is other than a shotgun or rifle, or ammunition for a

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      shotgun or rifle, to any individual who the licensee knows or has
      reasonable cause to believe is less than twenty-one years of age.

18 U.S.C. § 922(b)(1). Likewise, the Act prohibits FFLs from selling a firearm to a

person “who does not appear in person at the licensee’s business premises (other

than another licensed importer, manufacturer, or dealer)” unless the person

submits a sworn statement that “in the case of any firearm other than a shotgun or

a rifle, [he or she is] twenty-one years or more of age.” Id. § 922(c)(1). These statutes

are implemented by regulations that similarly restrict handgun sales to individuals

over 21. See 27 C.F.R. §§ 478.99(b)(1), 478.96(b), & 478.124(a), (f).

      As a result of these statutes and regulations, “18-to-20-year-olds may not

purchase handguns from FFLs.” Nat’l Rifle Ass’n of Am., Inc. v. Bureau of Alcohol,

Tobacco, Firearms, & Explosives (“NRA I”), 700 F.3d 185, 190 (5th Cir. 2012). And

FFLs effectively are the market for handguns—all who “engage in the business of

importing, manufacturing, or dealing in firearms” must become FFLs. See 18 U.S.C.

§ 922(a)(1)(A). The Handgun Ban therefore shuts 18-to-20- year-olds out of the

entire regulated market for handguns.

  II. Factual and Procedural Background

      Plaintiffs Steven Brown and Benjamin Weekley (collectively, “Individual

Plaintiffs”) are residents of West Virginia who are older than 18 but younger than

21 years old. First Am. Compl. Doc. 11 ¶¶ 7-8 (September 27, 2022) (“FAC”);

Statement of Undisputed Material Facts in Support of Plaintiffs’ Motion for

Summary Judgment (“SOMF”) ¶ 1,4, Brown Decl. ¶1, 3-4; Weekley Decl. ¶1, 3-4.


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Each of the Individual Plaintiffs “has never been charged with nor convicted of any

misdemeanor or felony offense, and is otherwise eligible to purchase and possess

firearms, including handguns, under all applicable laws.” FAC ¶¶ 18, 25; SOMF ¶

1,4; Brown Decl. ¶ 3; Weekley Decl. ¶ 3. Neither owns a handgun but both intend

and desire to purchase one, along with handgun ammunition, for lawful purposes,

including self-defense. FAC ¶¶ 18, 25; SOMF ¶ 3, 6; Brown Decl. ¶ 11; Weekley

Decl. ¶ 10. However, the Handgun Ban prevents each of them “from purchasing

handguns from federal firearms licensees due to their age. FAC ¶¶ 20-21, 26; SOMF

¶¶ 1, 4; Brown Decl. ¶ 4; Weekley Decl. ¶ 4.

      Plaintiff West Virginia Citizens Defense League (“WVCDL”) (“Organizational

Plaintiff”) is nonprofit organization dedicated to promoting the right to keep and

bear arms. FAC ¶¶ 9-10; SOMF ¶ 7; Masters Decl. ¶ 4. The Organizational Plaintiff

has members between the ages of eighteen and twenty-one, FAC ¶¶ 9-10; SOMF ¶

7; Masters Decl. ¶ 5, including the Individual Plaintiffs, FAC ¶¶ 7-8; SOMF ¶ 8;

Brown Decl. ¶ 2; Weekley Decl. ¶ 2; Masters Decl. ¶ 6; and bring this action on

behalf of their individual members who would purchase handguns and handgun

ammunition from lawful retailers, WVCDL’s member FFL handgun retailers who

would sell handguns and handgun ammunition to individuals like the Individual

Plaintiffs but are prohibited from doing so by the Handgun Ban.” FAC ¶¶ 9-10;

SOMF ¶ 7; Masters Decl. ¶ 7.

      Plaintiff Brown initiated this action pro se on August 30, 2022. (ECF Doc. 1).

Plaintiffs filed an amended complaint on September 27, 2022, seeking declaratory

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and injunctive relief from the Bureau of Alcohol, Tobacco, Firearms and Explosives

(“ATF”) and federal officials – Director of ATF Steven Dettelbach and Attorney

General Merrick Garland – responsible for enforcing the Handgun Ban. Plaintiffs

alleged that the Handgun Ban was facially unconstitutional for all adults over the

age of eighteen. (ECF Doc. 11).

       On December 12, 2022, the Defendants filed a motion to dismiss and a

supporting memorandum of law. (ECF Doc. 23 and 24).

                                      ARGUMENT

  I.   Standards of Review

       The Government has moved to dismiss Plaintiffs’ First Amended Complaint

for lack of subject matter jurisdiction and failure to state a claim. See Fed. R. Civ. P.

12(b)(1) & (b)(6). In evaluating the Government’s motion to dismiss, the court must

“accept[s] as true all well-pleaded facts in a complaint and construe[s] them in the

light most favorable to the plaintiff.” Harvey v. CNN, Inc., 2022 U.S. App. LEXIS

24824 *18 (4th Cir. 2022) (internal citations omitted). “To survive a motion to

dismiss, a complaint must contain sufficient factual matter, accepted as true, to

‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

       Summary judgment is appropriate if “there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). Summary judgment is proper “[w]here the record taken as a whole

could not lead a rational trier of fact to find for the non-moving party, there [being]

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no 'genuine issue for trial.’” Metro. Towers, LLC v. Duff, 2022 U.S. Dist. LEXIS

100818 *6 (2022) (internal citations omitted).

  II. The Court Has Article III Jurisdiction

          a. The Individual Plaintiffs Have Article III Standing

      The Government argues the Individual Plaintiffs lack standing because they

have forgone “a legally available means by which they may obtain a handgun” by

not acquiring a handgun through a gift or some other legally acceptable way,

although it concedes that this same argument was rejected by the Fifth Circuit in

NRA I. Govt. Br. 9-10 & n.7. While the Fifth Circuit precedent is not binding upon

this Court, it should certainly be persuasive to arrive at the same result. The injury

Plaintiffs have alleged is not an inability to acquire or possess a handgun, it is an

inability to purchase one legally from an FFL. NRA I, 700 F.3d at 191–92 (citing Va.

State Bd. of Pharm. v. Va. Citizens Consumer Council, Inc., 425 U.S. 748, 750–57,

755 n.12 (1976)); see Brown Decl. ¶¶ 7, 9-10; Weekley Decl. ¶¶ 5-8. That injury gives

rise to standing. Unable to purchase handguns directly from FFLs leaves,

individuals such as Plaintiffs, left to the uncertainty of the secondary market in

which they have a more limited selection of firearms to choose from – perhaps even

lacking the model they would prefer entirely. Moreover, these firearms often lack a

warranty. Sellers on the secondary market are positioned to engage in predatory

practices against individuals, like Plaintiffs, who are unable to purchase directly

from FFLs. Lastly, even if Plaintiffs were able to acquire a firearm on the secondary



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market, they are still unable to purchase ammunition from retailers for the

firearms – rendering the mere possession of the firearm meaningless.

           b. The Organizational Plaintiff Has Article III Standing

       The court need not address the standing of the Organizational Plaintiff,

because the Individual Plaintiffs have standing, and where one plaintiff has

standing this Court’s jurisdiction is secure. See Village of Arlington Heights v.

Metro. House. Dev. Corp., 429 U.S. 252, 264 n.9 (1977) (“Because of the presence of

this plaintiff, we need not consider whether the other individual and corporate

plaintiffs have standing to maintain the suit.”). Even so, the Organizational

Plaintiff has associational standing.1

       “An association has associational standing when at least one of its ‘identified’

members ‘would otherwise have standing to sue in their own right, the interests at

stake are germane to the organization’s purpose, and neither the claim asserted nor

the relief requested requires the participation of individual members in the

lawsuit.’” Outdoor Amusement Bus. Ass’n v. Dep’t of Homeland Sec., 983 F.3d 671,

683 (4th Cir. 2020) (internal citations omitted). The Government argues the

Organizational Plaintiff has failed the first part of this test for the same reasons it

suggests the Individual Plaintiffs lack standing and because Plaintiffs “have failed

to specify any member who was allegedly frustrated from selling any particular



1 Defendants argue that Plaintiff Second Amendment Foundation should be dismissed from this
lawsuit due to its involvement in Reese v. ATF, No. 6:20-cv-01438 (W.D. La. May 5, 2021) and cite
two cases to support that proposition. Plaintiffs agree and consent to the voluntary dismissal,
without prejudice, of Plaintiff Second Amendment Foundation.

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handgun to any person,” Govt. Br. 11, but as discussed above, Plaintiffs have an

injury traceable to Defendants by virtue of the Handgun Ban prohibiting Individual

Plaintiffs to purchase of handguns from FFLs. Moreover, Organizational Plaintiff

has at least one member FFL who would sell and transfer a handgun and handgun

ammunition, to individuals 18-to-20-years-old but for the laws and regulations at

issue in this instant action. And while not binding on this Court, the Fifth Circuit

rejected such an argument, stating “by prohibiting FFLs from selling handguns to

18-to-20-year-olds, the laws cause those persons concrete, particularized injury—

i.e., the injury of not being able to purchase handguns from FFLs.” NRA I, 700 F.3d

at 191-92. See also Va. State Bd. of Pharmacy v. Va. Citizens Consumer Council,

Inc., 425 U.S. 748, 750-57, 755 n.12 (1976) (finding standing for prospective

customers to challenge constitutionality of state statute prohibiting pharmacists

from advertising prescription drug prices, despite customers' ability to obtain price

quotes in another way—over the phone from some pharmacies).

      The Government also takes issue with the allegation that a “second category

of members— licensed firearms dealers” suffered a concrete and particularized

injury. Govt. Br. 11. Plaintiff WVCDL has alleged that those members have lost

sales they would otherwise have made to 18-to-20-year-old purchasers if such sales

were not prohibited. See FAC ¶ 10; Masters Decl. ¶¶ 7-8. Although this allegation is

not necessary to establish standing for Organizational Plaintiffs, lost sales by

members are concrete injuries, fairly traceable to the Handgun Ban, that give rise



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to standing for the Organizational Plaintiffs. See Tex. Assoc. of Mfrs. v. U.S.

Consumer Prod. Safety Comm’n, 989 F.3d 368, 378 (5th Cir. 2021).

  III. The Bruen Test

      Earlier this year, the Supreme Court reaffirmed the test that is to be applied

to Second Amendment challenges, which was previously articulated in Heller when

it decided Bruen. Such challenges are to be analyzed within the framework of the

“Second Amendment’s text, as informed by history.” Bruen, 142 S. Ct. at 2127. And

“the government must affirmatively prove that its firearms regulation is part of the

historical tradition that delimits the outer bounds of the right to keep and bear

arms.” Id. Removing any doubt as to the standard, the Supreme Court further

declared “[w]e reiterate that the standard for applying the Second Amendment is as

follows: When the Second Amendment’s plain text covers an individual’s conduct,

the Constitution presumptively protects that conduct. The government must then

justify its regulation by demonstrating that it is consistent with the Nation’s

historical tradition of firearm regulation. Only then may a court conclude that the

individual’s conduct falls outside the Second Amendment’s ‘unqualified command.’”

Id. at 2129-30 (internal citations omitted).

  IV. The Correct Historical Period in Examining the Public’s
      Understanding of the Right to Keep and Bear Arms is 1791

      For this Court to properly apply the test spelled out in Bruen, it is imperative

that it look to the proper historical period to ascertain what similar laws, or

historical analogues, were in existence that the Defendants may rely upon to justify


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their Handgun Ban. “Constitutional rights are enshrined with the scope they were

understood to have when the people adopted them.” Heller, 554 U. S. at 634-35.

(emphasis added). The Second Amendment was adopted in 1791. See generally

Mark W. Smith, “Not all History is Created Equal”: In the Post-Bruen World, the

Critical Period for Historical Analogues is when the Second Amendment was

Ratified in 1791, and not 1868, (Oct. 1, 2022), available at SSRN: https://

papers.ssrn.com/sol3/papers.cfm?abstract_id=4248297.

       While the Government directs this Court to look at laws adopted in the

nineteenth century and beyond to justify its Handgun Ban, Govt. Br. 14-16, the

Supreme Court has already dismissed such as improper. To begin, Supreme Court

precedent has made clear that with respect to the federal government, 1791 is the

proper period to examine to determine the original meaning of the various

provisions in the Bill of Rights. See, e.g., Heller, 554 U.S. at 634–35 (“Constitutional

rights are enshrined with the scope they were understood to have when the people

adopted them.”); Gamble v. United States, 139 S. Ct. 1960, 1975–76 (2019)

(explaining that Heller sought to determine “the public understanding in 1791 of

the right codified by the Second Amendment”); United States v. Watson, 423 U.S.

411, 421 (1976) (citing the Second Congress’s understanding and grant of arrest

powers for a felony without a warrant to federal marshals as consistent with the

Fourth Amendment); cf. Lynch v. Donnelly, 465 U.S. 668, 674 (1984) (“The

interpretation of the Establishment Clause by Congress in 1789 takes on special

significance.”).

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      There is no reason to look later, since in this case the Second Amendment

applies directly against the Government. Regardless, even if incorporation through

the Fourteenth Amendment were somehow at issue, the Supreme Court has once

again provided guidance as to the proper historical period. “[W]e have generally

assumed that the scope of the protection applicable to the Federal Government and

States is pegged to the public understanding of the right when the Bill of

Rights was adopted in 1791.” Bruen, 142 S. Ct. at 2137-38. See also Marsh v.

Chambers, 463 U.S. 783, 787-88 (1983) (discussing prayer before legislative sessions

and referencing practices of the First Continental Congress, First Congress, Senate

and House Committees, and payment of Chaplains to perform such services just

three days prior to the agreement on the language of the Bill of Rights); Furman v.

Georgia, 408 U.S. 238, 319-20 (1972) (tracing history of the Founder’s

understanding of cruel and unusual punishment from English law through the

adoption of the Eighth Amendment); and Virginia v. Moore, 553 U.S. 164, 168

(2008) (discussing that the Court looks “to the statutes and common law of the

founding era to determine the norms that the Fourth Amendment” protects). While

Defendants may prefer to rely on history from a later period, there is no basis in the

caselaw for that preference. In McDonald, the Court was exactingly clear when it

stated that it has “decisively held that incorporated Bill of Rights protections are all

to be enforced against the States under the Fourteenth Amendment according to

the same standards that protect those personal rights against federal

encroachment.” McDonald, 561 U.S. at 765 (internal quotation marks omitted). And

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of course, this makes sense. To find that the 1868 understanding controls and that

the meaning of the Bill of Rights provision is the same against the states and the

federal government, a court would necessarily need to conclude that adopting the

Fourteenth Amendment and extending Bill of Rights protections to the states

somehow also changed the meaning of those protections when applied to the federal

government. This would be counterintuitive and lacks support in precedent. See

Bruen, 142 S. Ct. at 2163 (“[T]oday’s decision should not be understood to endorse

freewheeling reliance on historical practice from the mid-to-late 19th century to

establish the original meaning of the Bill of Rights.” (Barrett, J., concurring)).

       No matter which path one travels, all roads lead to 1791. Having set the

stage for the proper historical period, attention must be turned to this nation’s

history and tradition of firearms regulation.

  V.   The Second Amendment Does Not Permit the Government to
       Prohibit 18-to-20-Year-Olds from Purchasing Handguns from
       Licensed Retailers

       Bruen established once and for all that the Second Amendment right “to keep

and bear arms” means just what it says—that individuals, like Plaintiffs, have a

right to keep (or own) all bearable arms in common use for lawful purposes. The

right to keep arms necessarily implies there is a right to acquire arms. Plaintiffs’

challenge is, therefore, within the scope of the Second Amendment, and the burden

is on the Defendants to justify the Handgun Ban. The only possible feature that

could differentiate this case from Bruen and Heller is the Plaintiffs’ age, but the

Court should reject any argument to that effect. Under Bruen, this first question is

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a textual one, and here two key elements of the Amendment’s text remove any

doubt that 18-to-20-year-olds fall within its scope.

      First, the Amendment refers to a right of “the people” to keep and bear arms

without mentioning age. The “normal and ordinary meaning” of “the people”

includes all the people. Bruen, 142 S. Ct. at 2127. As the Supreme Court made clear

in Heller, “the Second Amendment right is exercised individually and belongs to all

Americans.” 554 U.S. at 581 (emphasis added); accord 3 JOSEPH STORY,

COMMENTARIES ON THE CONSTITUTION OF THE UNITED STATES § 1890 (1833) (“The

right of the citizens to keep, and bear arms has justly been considered, as the

palladium of the liberties of a republic.”) (emphasis added); Nunn v. Georgia, 1 Ga.

243, 250 (1846) (“The right of the whole people, old and young, men, women[,] and

boys, and not militia only, to keep and bear arms of every description, and not such

merely as are used by the militia, shall not be infringed, curtailed, or broken in

upon, in the smallest degree.”) (quoted approvingly, Heller, 554 U.S. at 612–13 and

Bruen, 142 S. Ct. at 2147).

      Furthermore, construction of the Constitution requires reading individual

amendments and clauses “in the context of the Constitution as a whole.” Armstrong

v. Exceptional Child Ctr., Inc., 575 U.S. 320, 325–26 (2015). In context, we can see

that the Constitution elsewhere explicitly considers and prescribes limits based on

age. See, e.g., U.S. CONST. art. I, § 2, cl. 2 (must be 25 years old to serve in the

House of Representatives); id. amend. XXVI (voting age at 18). “In other words, the

Founders considered age and knew how to set age requirements but placed no such

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restrictions on rights, including those protected by the Second Amendment.”

Hirschfeld v. BATFE, 5 F.4th 407, 421 (4th Cir. 2021), vacated as moot, 14 F.4th

322, 328 (4th Cir. 2021). And in the two other provisions in the Bill of Rights that

explicitly describe a right of “the people” generally, the First and the Fourth

Amendments, the rights extend fully to 18-year-olds and in fact extend to the whole

people, even those under 18. Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S.

503, 511 (1969) (“Students . . . are ‘persons’ under our Constitution [who] are

possessed of fundamental rights which the State must respect”); W. Va. State Bd. of

Educ. v. Barnette, 319 U.S. 624, 642 (1943); New Jersey v. T.L.O., 469 U.S. 325, 334

(1985) (“Equally indisputable is the proposition that the Fourteenth Amendment

protects the rights of students against [unreasonable searches and seizures] by

public school officials.”); see also Hirschfeld, 5 F.4th at 421. “When the term the

people is made use of . . . in all the enumerations and guaranties of rights [in the

Constitution] the whole people are intended.” THOMAS M. COOLEY, THE GENERAL

PRINCIPLES OF CONSTITUTIONAL LAW IN THE UNITED STATES OF AMERICA 267–68

(1880). Even where “the people” does not appear, every other constitutional right

applies at least to those 18 and older. Hirschfeld, 5 F.4th at 422–23 (noting that the

right to jury trial, voting, marriage, and sex apply at least to those 18 years old).

      Second, the Amendment includes a “prefatory clause” which begins: “[a] well

regulated Militia, being necessary to the security of a free State . . . .” As Heller

explained, this clause “announces the purpose for which the right was codified: to

prevent elimination of the militia.” 554 U.S. at 595, 599. As such, although the right

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is not limited to those who were in the militia or eligible for militia service at the

Founding, “[l]ogic demands that there be a link between the stated purpose and the

command,” id. at 577, meaning that if an individual would have been a member of

the “militia,” at least his rights must be protected by the Amendment.

      At the Founding, the “militia” was widely understood to refer to the collection

of “all able-bodied men,” id. at 596, including in the unanimous judgment of the

federal government and every state in the union, all men of at least 18 years of age,

Jones v. Bonta, 34 F.4th 704, 718–19 (9th Cir. 2022) (collecting post-ratification

state militia laws). This is apparent from Congress’s initial exercise of its power to

“provide for organizing, arming, and disciplining, the militia.” U.S. CONST. art. I, §

8, cl. 16. The Militia Act, ch. 33 § 1, 1 Stat. 271, passed by the Second Congress just

months after the Second Amendment was ratified, “commanded that every able-

bodied male citizen between the ages of 18 and 45 be enrolled in the militia and

equip himself with appropriate weaponry.” Jones, 34 F.4th at 719 (quoting Perpich

v. Dep’t of Def., 496 U.S. 334, 341 (1990) (alterations omitted)). As a

contemporaneous act of Congress, the Militia Act provides extraordinarily powerful

evidence that the Second Amendment right vests by age 18.

      [M]any of the members of the Second Congress were also
      members of the First, which had drafted the Bill of Rights. But
      more importantly, they were conversant with the common
      understanding of both the First Congress and the ratifying state
      legislatures as to what was meant by ‘Militia’ in the Second
      Amendment.




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Parker v. District of Columbia, 478 F.3d 370, 387 (D.C. Cir. 2007), aff’d by Heller,

554 U.S. 570; see also Eldred v. Ashcroft, 537 U.S. 186, 213 (2003) (“This Court has

repeatedly laid down the principle that a contemporaneous legislative exposition of

the Constitution when the founders of our Government and framers of our

Constitution were actively participating in public affairs, acquiesced in for a long

term of years, fixes the construction to be given the Constitution’s provisions.”

(cleaned up)).

      The legislative history of the Militia Act lends further support. In 1790,

Secretary of War Henry Knox submitted a militia plan to Congress providing that

“all men of the legal military age should be armed,” and that “[t]he period of life in

which military service shall be required of the citizens of the United States [was] to

commence at eighteen.” 2 ANNALS OF CONGRESS 2146 (Joseph Gales ed., 1834).

Although previously “military age ha[d] generally commenced at sixteen,” Secretary

Knox instead drew the line at 18 because “the youth of sixteen do not commonly

attain such a degree of robust strength as to enable them to sustain without injury

the hardships incident to the field.” Id. at 2153. Representative Jackson explained

“that from eighteen to twenty-one was found to be the best age to make soldiers of.”

Id. at 1860 (emphasis added).

      Eighteen is also the age that George Washington recommended for beginning

militia enrollment. In an enclosure to a 1783 letter to Alexander Hamilton, General

Washington— who as President in 1792 signed the Militia Act into law—wrote that

“the Citizens of America . . . from 18 to 50 Years of Age should be borne on the

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Militia Rolls” and “so far accustomed to the use of [Arms] that the Total strength of

the Country might be called forth at Short Notice on any very interesting

Emergency.” Sentiments on a Peace Establishment (May 2, 1783), reprinted in 26

THE WRITINGS OF GEORGE WASHINGTON 389 (John C. Fitzpatrick, ed. 1938).

      Shortly after the federal age for militia participation was set at 18, every

state set the age at 18 as well. Jones, 34 F.4th at 719 & App’x 2. There was thus a

consensus in the States that, by age 18, individuals were able to, and hence entitled

to, bear arms. This followed from the colonial practice: “From the earliest times the

duty to possess arms was imposed on the entire colonial populace, with actual

militia service contemplated for every male of 15, 16, or 18 through 45, 50, or 60

(depending on the colony).” Don B. Kates Jr., Handgun Prohibition and the Original

Meaning of the Second Amendment, 82 MICH. L. REV. 204, 215 n.46 (1983).

Plaintiffs are unaware of even a single state that exempted 18- to-20-year-olds from

militia service at the time the Second Amendment was ratified. Indeed, a

comprehensive survey of over 250 separate state and colonial provisions enacted

from the seventeenth through the end of the eighteenth century found that the

minimum “age for militia duty” was most commonly either 16 or 18, “and never

higher (except for one 19-year period in Virginia [between 1738 and 1757]).” David

B. Kopel & Joseph G.S. Greenlee, The Second Amendment Rights of Young Adults,

43 S. ILL. U. L.J. 495, 533 (2019).

      To be clear, Plaintiffs do not contend that these militia laws somehow

extended Second Amendment rights to 18-year-olds. Indeed, Heller made clear that

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the Second Amendment enshrines “an individual right unconnected with militia

service.” 554 U.S. at 582. Instead, the point is that “the well-regulated Militia”

referred to in the Amendment’s prefatory clause, which the Constitution understood

to be an entity “already in existence” made up of “all able-bodied men,” is the “pool”

from which

      Congress has plenary power to organize the units that will make
      up an effective fighting force. That is what Congress did in the
      first Militia Act, which specified that each and every free able-
      bodied white male citizen . . . who is or shall be of the age of
      eighteen years . . . shall severally and respectively be enrolled in
      the militia.

Id. (quoting Act of May 8, 1792) (quotation marks omitted). Given that “the

federally organized militia may consist of a subset of” the “militia” referenced in the

Second Amendment, but nevertheless must draw from that larger body, the

unanimous inclusion of 18-to-20-years-old in organized militias at or shortly after

the passage of the Second Amendment establishes that they must have been within

the militia referenced by the Second Amendment. Id.; see also Hirschfeld, 5 F.4th

407, 429–30 (“Because the individual right is broader than the Second

Amendment’s civic purpose, those required to serve in the militia and bring arms

would most assuredly have been among ‘the people’ who possessed the right.”). As a

result, “any argument that 18-to-20-year-olds were not considered, at the time of

the founding, to have full rights regarding firearms” is “inconceivable.” Nat’l Rifle

Ass’n of Am., Inc. v. BATFE, 714 F.3d 334, 342 (5th Cir. 2013) (Jones, J., dissental)

(“NRA II”).


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      Finally, it is worth noting that this understanding of the scope of the right,

and the importance of the “militia” in the prefatory clause persisted well beyond the

time of the Founding. It was still the view in the 19th century following the

ratification of the Fourteenth Amendment. As Thomas Cooley wrote in his 1880

treatise, when interpreting the Second Amendment’s text,

      [i]t might be supposed from the phraseology of this provision
      that the right to keep and bear arms was only guaranteed to the
      militia; but this would be an interpretation not warranted by the
      intent. . . . The meaning of the provision undoubtedly is, that the
      people, from whom the militia must be taken, shall have the
      right to keep and bear arms; and they need no permission or
      regulation of law for the purpose.

COOLEY, supra, GENERAL PRINCIPLES at 271. The Court in Heller noted: “All other

post- Civil War 19th-century sources we have found concurred with Cooley.” 554

U.S. at 618. The text of the Amendment cannot be read in any way to exclude 18-

to-20-year-olds from its coverage.

  VI. The Handgun Ban Cannot Be Justified by Reference to Historical
      Analogues

      The Second Amendment’s text covers an 18-to-20-year-old individual’s right

to keep handguns. As mentioned supra, such necessarily implies a right to acquire

such arms. Instead, Defendants offer that rather than being able to exercise the

right to acquire arms directly, Plaintiffs may exercise that right through one’s

parents or guardian gifting a handgun to them, Govt. Br. 1, 11, conditioning the

exercise of their Second Amendment rights by the virtue of another’s graciousness –

hardly the exercise of a right at all. Under Bruen, the Handgun Ban is


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presumptively unconstitutional unless the Defendants can “justify [the] regulation

by demonstrating that it is consistent with the Nation’s historical tradition of

firearm regulations.” 142 S. Ct. at 2130. The Supreme Court was exactingly clear:

the burden is on the government to prove that its Handgun Ban is constitutional,

and the only acceptable standard against which to judge its constitutionality is the

history of traditional firearm regulation in this country. Id.; see also id. at 2131

(“The Second Amendment…‘surely elevates above all other interests the right of

law-abiding, responsible citizens to use arms’ for self-defense. It is this balance –

struck by the traditions of the American people – that demands our unqualified

deference.” (quoting Heller, 554 U.S. at 635)).

      Defendants will not be able to carry this burden.

      a. The Unanimous Practice of the Founding Era Was to Permit 18-to-20-
         Year-Olds to Exercise Their Second Amendment Rights on Equal Footing
         with Other Adults

      Even before the Founding era, “[t]he tradition of young adults keeping and

bearing arms [was] deep-rooted in English law and custom” and “was brought

across the Atlantic by the American colonists.” Jones, 34 F.4th at 717. As discussed

above, immediately after the Amendment was ratified the age for militia

participation was set by every state and the federal government at 18. And the

point bears underscoring—militia membership did not just entail an entitlement to

own a firearm, it required ownership. United States v. Miller, 307 U.S. 174, 179

(1939) (“[W]hen called for service these men were expected to appear bearing arms

supplied by themselves.”). This requirement means that not only were 18-year-olds

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at the Founding entrusted with bearing arms during their time participating in

militia service, they were also expected to keep and maintain their arms as private

citizens. In addition to this “founding-era evidence of militia membership [which]

undermines Defendants’ interpretation” of the Amendment, young adults were

expected to bear arms as part of posse comitatus, which “allowed sheriffs and others

to compel citizens to serve in the name of the state to execute arrests, level public

nuisances, and keep the peace, upon pain of fine and imprisonment.” Jones, 34

F.4th at 718, 722. Similarly, at common law by age 18 all able-bodied men “were

obliged to join in the ‘hue and cry’ (hutesium et clamor) to pursue fleeing criminals.”

Kopel & Greenlee, Second Amendment Rights, supra at 534.

      The court in Jones likewise found that in the period immediately following

ratification “every state’s militia law obliged young adults to acquire and possess

firearms.” 34 F.4th at 719. After exhaustively surveying historical gun regulations

related to firearm purchasing by young adults, the Fourth Circuit in Hirschfeld

concluded that “[w]hile some gun regulations existed at the Founding, there were no

regulations restricting minors’ ability to possess or purchase weapons until two

states adopted such laws in 1856.’” 5 F.4th at 437. Judge Jones in NRA II similarly

criticized the panel decision for suggesting that restrictions on purchasing by 18-

to-20-year-olds were “longstanding” based on evidence of statutes that were, in

many cases, not complete bans on purchasing and, like in Hirschfeld, dated to 1856

at the very earliest. 714 F.3d at 344 (Jones, J., dissental) (“With its merely general

references to firearms regulations at the founding and its only support in

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regulations against 18-to-20-year-olds late in the 19th century, the panel is unable

to prove that banning commercial firearms sales to late teens has any analogue in

the founding era.”). See also Exhibit B to Govt. Br. (ECF Doc. 24-2) (cataloguing

states restricting the ability of persons under 21 to purchase or use particular

firearms, or restricting the ability of “minors” while the state’s age of majority was

set at 21 – showing no laws in existence until 1856 and finding only two laws in

effect prior to the ratification of the Fourteenth Amendment, with three more

adopted within ten years of its ratification).2 There is simply not a shred of evidence

from the Founding era of any “historical analogue” that attempted to constrain 18-

to-20-year-olds’ exercise of their Second Amendment rights in any way like the

Handgun Ban does here.

       b. Defendants Citations to 19th Century Sources are Unavailing

       As discussed supra, the 19th Century is beyond the proper period to

determine the historical understanding of the Second Amendment. Regardless,

Plaintiffs will address several points Defendants make. Defendants cite to a treatise

from 1868 which said that “the State may prohibit the sale of arms to Minors.”

Thomas M. Cooley, A Treatise on Constitutional Limitation 740 n. 4 (6th ed. 1890);

Govt. Br. 18. But this quote is from the section discussing the police power of the



2Even if one were to look twelve years preceding the adoption of the Fourteenth Amendment
(Alabama’s adoption of such a law in 1856 – the first of its kind according to the Government’s
Exhibit B (ECF Doc. 24-2)) and twelve years after the adoption of the Fourteenth Amendment, only
seven of the thirty-eight states would have adopted such a provision. “As in Heller, we will not ‘stake
our interpretation of the Second Amendment upon a single law, in effect in a single [State], that
contradicts the overwhelming weight of other evidence regarding the right to keep and bear arms for
defense’”. Bruen, 142 S. Ct. at 2153 (quoting Heller, 554 U. S. at 632).

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state and does not address the Second Amendment or the right to bear arms, and

what’s more, Cooley’s authority for the sentence was State v. Callicutt, 69 Tenn. 714

(Tenn. 1878). Jones, 34 F.4th at 704. He was not weighing in on the legitimacy of

the decision, instead he was “simply identifying [it] as a case related to his

discussion, which is how he utilized footnotes to cite thousands of cases throughout

the treatise.” David B. Kopel & Joseph G.S. Greenlee, History and Tradition in

Modern Circuit Cases on the Second Amendment Rights of Young People, 43 S. Ill.

U.L.J. 119, 143 (2018). Cooley did, however, elsewhere address the right to bear

arms, but he specifically did not discuss the legitimacy of restrictions on the right:

      [H]ow far it may be in the power of the legislature to regulate
      the right [to keep and bear arms] we shall not undertake to say.
      Happily, there neither has been, nor, we may hope, is likely to
      be, much occasion for an examination of that question by the
      courts.

Cooley, supra at 427.

      And to be sure Callicut is equally unpersuasive. As the Jones Court noted,

the Tennessee court “addressed concealed carry of dangerous weapons, not the right

to keep and bear arms more generally.” Jones, 34 F.4th at 720. Defendants’ reliance

on Coleman v. State, 32 Ala. 581 (1858) fairs no better. The Jones Court also

reviewed this case, finding that “the court did not address the constitutionality of

the law or say how old the minor was.” Jones, 34 F.4th at 720.

      Next, Defendants argue that at the time of the adoption of the Constitution,

the age of majority at common law was 21 years. Govt. Br. 14. This cuts against

their position, as it would render any law prior to about 1970 a law that only

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restricted the rights of minors. Such would not be analogous to the present-day

restrictions imposed by the Handgun Ban on the rights of legal adults.




                                 CONCLUSION

      For these reasons, this Court should deny Defendants’ Motion to Dismiss and

grant Plaintiffs’ Motion for Summary Judgment, declare the Handgun Ban

unconstitutional, and enjoin its enforcement against Plaintiffs and their members.



Dated: January 3, 2023                       Respectfully submitted,


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